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       Attorneys for Defendant
   8   PERVINE FOODS, LLC
   9
                          UNITED STATES DISTRICT COURT
 10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
 12    NESTLÉ USA, INC.,
 13                       Plaintiff,                  CASE NO. 2:15cv06527-CAS-AFM
 14          v.                                       Hon. Christina A. Snyder
 15                                                   DECLARATION OF MICHAELA L.
       PERVINE FOODS, LLC,
 16                                                   SOZIO IN SUPPORT OF MOTION
                          Defendant.                  OF PERVINE FOODS, LLC TO
 17                                                   TRANSFER VENUE
 18                                                   Date:
                                                      Time:
 19
 20          I, Michaela L. Sozio, hereby declare as follows:
 21          1.     I am an attorney licensed to practice before the federal and state courts
 22    within the State of California and a partner in the law firm of Tressler LLP.
 23          2.     I am counsel of record for Pervine Foods, LLC (“Pervine”), on whose
 24    behalf I make this declaration.
 25          3.     If called as a witness, I would competently testify to the following
 26    facts, all of which are within my personal knowledge, except for those matters
 27    stated on information and belief, and as to those matters I believe them to be true.
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                                                  1
                                                                 DECLARATION OF MICHAELA L. SOZIO
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   1          4.     After reading the complaint, it is my belief that this matter should be
   2   transferred to the United States District Court for the Western District of
   3   Pennsylvania based on the convenience of the parties and witnesses and in the
   4   interests of justice.
   5          5.     I am bringing this motion as soon as possible in order to minimize any
   6   delay and disruption to this court. This motion is brought prior to any answer being
   7   filed in this case and no discovery has been taken. Hence, this motion is made at a
   8   time when it is least disruptive to the procedural posture of this case.
   9          6.     The following are persons who have knowledge about the matters
 10    raised in the Complaint:
 11           • Sean Perich, President of Pervine Foods, LLC (“Pervine”), has knowledge
                regarding the policies and business plans of Pervine and their
 12
                implementation, creation of the FitCrunch® trademark and creation and
 13             design of packaging for the FitCrunch® nutritional protein bars, the
                operations of Pervine, the operations of Bakery Barn Inc., the company
 14
                that manufactures the FitCrunch® products, and the operations of Perich
 15             Investments LLC, one of the owners of Pervine.
 16           • Dave Plowden is an employee of Pervine who works on marketing and
 17             graphic design for the FitCrunch® products and also has knowledge
                regarding the creation of the FitCrunch® trademark and design of the
 18             FitCrunch® nutritional protein bar packaging.
 19
              • Matt Cruny is Chief Financial Officer for Pervine and Bakery Barn and
 20             has knowledge regarding the creation of the FitCrunch® trademark and
                creation and design of packaging for the FitCrunch® nutritional protein
 21
                bars.
 22
              • Jim Perich is a Member of Perich Investments LLC, and owner of Pervine,
 23             and has knowledge regarding the creation of the FitCrunch® trademark
 24             and creation and design of the packaging for the FitCrunch® nutritional
                protein bars, along with knowledge regarding the trademark FortiFX®.
 25
 26           • Mike Spinosa is the Vice President of Pervine and heads Pervine’s small
                marketing/sales team. He has knowledge regarding Pervine’s operations,
 27             including its marketing/sales efforts, as do the three individuals on his
 28             team, all of whom work from an office in Manasquan, New Jersey.

                                                   2
                                                                 DECLARATION OF MICHAELA L. SOZIO
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   1            • Robert Irvine is an owner and the Manager of Irvine Nutritional, LLC, an
                  owner of Pervine. He has knowledge regarding the business plans of
   2
                  Pervine, the marketing of FitCrunch® products and the use of his name
   3              and likeness on all FitCrunch® products.
   4            • Representative of GNC Holdings, Inc., one of Pervine’s key customers,
   5              have knowledge regarding the FitCrunch® nutrition bar and its sale and
                  distribution.
   6
                7.    Sean Perich, Jim Perich, Dave Plowden and Matt Cruny all reside in
   7
       Pittsburgh, Pennsylvania. Robert Irvine resides in Tampa, Florida, but maintains
   8
       his business office in Philadelphia. Mike Spinosa and his marketing/sales team all
   9
       reside in New Jersey.        GNC Holdings, Inc. is headquartered in Pittsburgh,
 10
       Pennsylvania.
 11
                8.    A true and correct copy of the executed Declaration of Sean Perich,
 12
       President of Pervine Foods, LLC and Bakery Barn, Inc., is attached hereto as
 13
       Exhibit 1.
 14
                9.    A true and correct copy of the executed Declaration of Robert Irvine,
 15
       Manager of Irvine Nutritional, LLC, an owner of Pervine Foods, LLC, is attached
 16
       hereto as Exhibit 2.
 17
                10.   I have reviewed the website for Nestlé USA, Inc. and Exhibit 3 is a true
 18
       and correct copy of the Key Figures page from Nestlé’s website.
 19
                I declare under penalty of perjury under the laws of the State of California
 20
       that the foregoing is true and correct.
 21
       Executed this 22nd day January, 2016 at Los Angeles, California.
 22
 23
                                                       /s/ - Michaela L. Sozio
 24                                                    MICHAELA L. SOZIO
       657531
 25    LA 146877

 26
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                                                   3
                                                                  DECLARATION OF MICHAELA L. SOZIO
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                        EXHIBIT “1”
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   7
                         UNITED STATES DISTRICT COURT
   8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9
 10    NESTLÉ USA, INC.,
 11                       Plaintiff,                 CASE NO. 2:15cv06527-CAS-AFM
 12          v.                                      Hon. Christina A. Snyder
 13
       PERVINE FOODS, LLC,                           DECLARATION OF
 14                                                  SEAN PERICH
                          Defendant.
 15
 16
 17          I, SEAN PERICH, declare under of penalty of perjury that I have personal
 18    knowledge of the matters set forth herein and if called as a witness would testify as
 19    follows:
 20          1.    I am President of Pervine Foods, LLC (Pervine) and, as such, I have
 21    direct knowledge of the facts contained herein and have served in this capacity since
 22    its formation in July, 2013.      My responsibilities include providing executive
 23    oversight and supervising implementation of policies and business plans approved
 24    by Pervine’s Board of Managers.
 25          2.    Pervine is a Pennsylvania limited liability company with its principal
 26    place of business located at 111 Terence Drive, Pittsburgh, Pennsylvania.
 27
 28

                                                                    DECLARATION OF SEAN PERICH
Case 2:15-cv-06527-CAS-AFM Document 16-2 Filed 01/25/16 Page 6 of 15 Page ID #:189
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   1          3.     Pervine owns two federal trademark registrations for the trademark
   2   FIT CRUNCH® and sells high-protein nutritional bars using this trademark, Reg.
   3   Nos. 4,501,292 and 4,501,294.
   4          4.     Pervine has 7 employees. This includes a small marketing/sales team
   5   consisting of Marissa Pittius, Lisa Zamparelli and John Kizer, along with Vice
   6   President Mike Spinosa, who heads the team.             This team works closely with
   7   Pervine’s Pittsburgh headquarters from an office in Manasquan, New Jersey. All
   8   four individuals reside in New Jersey.
   9          5.     Bakery Barn, Inc. is a Pennsylvania corporation located at the same
 10    address as Pervine in Pittsburgh, Pennsylvania.
 11           6.     Bakery Barn was formed in November, 2000 and I have been its
 12    President since that time. Bakery Barn is in the business of manufacturing private
 13    label nutrition bars, with an emphasis on high protein products.
 14           7.     All Pervine products, including its FIT CRUNCH® products, are
 15    manufactured in Bakery Barn’s Pittsburgh facility and shipped from this facility.
 16           8.     Creation of the FIT CRUNCH® mark and packaging were the result of
 17    brainstorming sessions which took place in Pittsburgh. The concept was to create a
 18    product facilitating a healthy fit lifestyle.
 19           9.     The individuals most knowledgeable about both the creation of the
 20    FIT CRUNCH® trademark and design of the packaging for the FIT CRUNCH®
 21    nutritional protein bars are myself, Jim Perich, Dave Plowden and Matt Cruny.
 22    Dave Plowden is an employee of Pervine working on marketing and graphic design.
 23    Matt Cruny is Chief Financial Officer for Pervine and Bakery Barn. All these
 24    individuals reside in Pittsburgh, Pennsylvania.
 25           10.    The    creation,     design       and   development   of   the    website
 26    fitcrunchbars.com took place in Pittsburgh and Dave Plowden is knowledgeable
 27    regarding these matters.
 28

                                                                       DECLARATION OF SEAN PERICH
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   1          11.   Most, if not all, documents relating to the creation, design,
   2   development and marketing of the FIT CRUNCH® trademark and products are
   3   located at the office of Pervine in Pittsburgh, Pennsylvania.
   4          12.   Pervine is owned by Irvine Nutritional, LLC, a Florida limited liability
   5   company, and Perich Investments LLC, a Pennsylvania limited liability company.
   6          13.   Perich Investments LLC is located at the same address as Pervine and I
   7   am one of its three Members, along with Jim Perich and Matt Cruny.
   8          14.   Pervine’s FIT CRUNCH® products all bear the trademark FortiFX®,
   9   which stands for fortified nutrition. Perich Investments LLC owns the federal
 10    trademark registration for FortiFX®.
 11           15.   A critical and key component of Pervine’s FIT CRUNCH® brand is
 12    Chef Robert Irvine. Mr. Irvine is the owner and the Manager of Irvine Nutritional,
 13    LLC.
 14           16.   Pervine’s Board of Managers meetings are held at its headquarters in
 15    Pittsburgh, Pennsylvania and on occasion at Robert Irvine’s business office in
 16    Philadelphia, Pennsylvania.
 17           17.   One of Pervine’s key customers is GNC Holdings, Inc., a leading
 18    specialty retailer of health and wellness products, including nutritional supplement
 19    and sports nutrition products. GNC is headquartered in Pittsburgh, Pennsylvania.
 20    GNC sells Pervine’s FIT CRUNCH® high-protein nutrition bars in its specialty
 21    nutrition segment.
 22           18.   Pervine has a very small executive staff consisting of me, Mike
 23    Spinosa, the Vice President, and Marissa Pittius, its Customer Service Manager. To
 24    require these key witnesses to travel to California for pre-trial and trial proceedings
 25    would significantly disrupt the operations of Pervine.
 26           19.   Neither Pervine, Bakery Barn, Inc. or Perich Investments LLC have
 27    offices or employees in California.
 28

                                                                       DECLARATION OF SEAN PERICH
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                        EXHIBIT “2”
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 6   PERVINE FOODS, LLC
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                       UNITED STATES DISTRICT COURT
 8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   NESTLÉ USA, INC.,
11                      Plaintiff,                CASE NO. 2:15cv06527-CAS-AFM
12         v.                                     Hon. Christina A. Snyder
13
     PERVINE FOODS, LLC,                          DECLARATION OF
14                                                ROBERT IRVINE
                        Defendant.
15
16
           I, ROBERT IRVINE, declare under of penalty of perjury that I have personal
17
     knowledge of the matters set forth herein and if called as a witness would testify as
18
     follows:
19
           1.     I am an owner and the Manager of Irvine Nutritional, LLC and have
20
     served in this capacity since December, 2012, when it was formed. It is a Florida
21
     limited liability company, with its principal place of business in Tampa, Florida.
22
           2.     Irvine Nutritional, LLC is an owner of Pervine Foods, LLC (Pervine),
23
     which sells high-protein nutritional bars under the federally registered trademark
24
     FIT CRUNCH®. These products and packaging also prominently display my name
25
     and likeness pursuant to an agreement I have with Pervine.
26
27
28

                                                                  DECLARATION OF ROBERT IRVINE
Case 2:15-cv-06527-CAS-AFM Document 16-2 Filed 01/25/16 Page 11 of 15 Page ID
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 1         3.     While I reside in Tampa, Florida, I maintain my business office in
 2   Philadelphia, Pennsylvania, out of which I base most of my marketing activities and
 3   other services I provide relating to Pervine’s business operations.
 4         4.     Pervine’s Board of Managers meetings are held either at my
 5   Philadelphia, Pennsylvania office or Pervine’s headquarters in Pittsburgh,
 6   Pennsylvania.
 7         5.     Irvine Nutritional, LLC has no officers or employees in California.
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                                                                 DECLARATION OF ROBERT IRVINE
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                     EXHIBIT “3”
Key Figures                                                                                  http://www.nestleusa.com/about-us/key-figures
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         Key Figures

         Key Facts about Nestlé USA
          Nestlé USA is a part of Nestlé S.A. in Vevey, Switzerland – the world's largest food company with a focus on
         Nutrition, Health & Wellness - View Nestlé S.A. 2014 Figures
          $9.7 billion in sales in 2014
          More than 51,000 employees nationwide
          25 manufacturing facilities, 43 distribution centers, and 13 sales offices across the country

         Whether you're at home, your favorite restaurant, or the ballpark, Nestlé offers a wide variety of food and
         beverage products that enrich the very experience of life itself.

         For information on other Nestlé affiliates in North America, please visit the following sites:

              Nestlé Purina PetCare Company
              Nestlé Waters North America
              Nestlé Canada
              Nestlé Nutrition
              Nestlé Professional

         Core Values

           People
         People from all diverse backgrounds are our most important asset and the source of our competitive
         advantage. We operate in teams where we expect and reward responsible risk taking.
           Quality
         We are dedicated to continuous improvement in the food safety and quality of every product we make and in
         every activity we perform.
           Brands
         Our strong brands ensure the continuity of our growth and profitability. Their support is every associate's
         responsibility.
           Consumers
         Our reason for being is to understand, anticipate and best fulfill our consumers' needs.
           Customers
         We appreciate and support the critical role our customers play in getting our brands to the consumer while
         working closely together to achieve mutual value.
           Performance
         Exceed total Company High Performance Targets (HPTs) for RIG, Organic Growth and EBITA.
         Good Food, Good Life.
         follow us on

         Nestlé in U.S.

         Nestlé in U.S.


1 of 2                                                                                                                 1/21/2016 2:58 PM
Key Figures                                                            http://www.nestleusa.com/about-us/key-figures
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         Nestlé in U.S.




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